Case 3:19-cr-00183-MO Document 47-5

Ncw iImessage VLdlivcel

To: Lori Deveny

Text Message
Wed, Oct 24, 2:24PM

s(-\' a Meanie) me Mat-\U-Malemanliai hes

role msn\ta elle mtn oe Aelia el-18

WET elate(-talalem iar) mia Bier laeln
3

Wed, Oct 24, 6:25 PM

a (=) a Moe oe 9-1-1 0 OMe F-\\ eo tal

fot al-te) itt l-)e-1 =) ean |---| eo r-lel ale |
WiTead(e)amalelsia@ale 3

Thu, Oct 25, 10:25 AM

GE I'm checking on it. When is

the eviction deadline?
Bhsl-ecige Mialemi-lc-ig

Ok. I'll yell.

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NeW IMmessage VLdlicel

To: Lori Deveny

DEM i -Me lel @- Male) ¢-Melamelt ime (ele) me car- 14
NToM ar hom com of-\' am W010 oh dnc lg ee

Vi-Mer-lamelaliva er: ark Mien a
extn a aw oa ar em

Got it.

Pg momele}iare Beem s]-E-]iglela) ea

Thu, Oct 25, 1:21 PM

s''-Tg MB Yfalee-] 0] (=m cootal-1o1 aela mt at-) wg

Left a message. Waiting for a call.

@) Gyo tar) aler-lel-la (ele @ eye lacie ie) g
itat-Melal=le) Mei eed ele eared

taltome-].<- Yabo) alelel (eM (-M ele) <a s)\ mani
Tae ia

Thu, Oct 25, 2:55 PM

Yes. We will make sure you are fine.

Thu, Oct 25, 5:43 PM
Case 3:19-cr-00183-MO Document 47-5 Filed 01/04/23 Page 3 of 8

NCW Imcssage VLadlivcel

To: Lori Deveny

shire ele)

Mon, Oct 29, 3:56 PM

Aaa =i t=)

Wart cal Melee FamCoN

Tue, Oct 30, 10:09 AM

(cya meld m Mal-i-teM com diel msl am al-
ailelac-ym mere latliare pa a -M- le -me-ledlale
rWViztoad(e) alae dal i-m (om e-y- Png]
fofeyialeMelam ui iiam atl Mestl-1o) 4

The word is | should know
tomorrow afternoon. As soon as 1
do, you'll know.

10) °<- "Fem io ale lt] (om -> 40-101 ar Ber} |

bigelsameMmcolaslelgue)'M-lac-lanlele)a Kg

Yes. Are you working? Would you
rather | text?

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NeW IMessage Vdlicel
To: Lori Deveny

yes. Are you workings vvoula you
rather | text?

er TRC dtlale Belg ¢-Bel-.ac- ee
Mele tile mh Mela ewe ieiolOm Comet ls
oi (cToi tall am dara -lelelt imi coee (lar jal elt
e)ammelam te) Mey m-| ingle ae Cele mcr a 7 -)

fol! 7-Ma Com aat-M-le)- |e uu tl-lahmeve}inls) (=) aed
iF} ccm i=l -Moial-|sel-s-emelem cele ke) M-Me-teit
Talo a Moats 4 kon WM at em Ee)
foreluslinre Melo M idl Gem caliente Melmatcelal-)
Ta earmal-y amok me [te

Ok. I'll text you.

fo] @e)(-y- him (=a art -M dale) tele) am 1
reles-y-}1e}(- Meal iM iow-Melic-M-y1ebr-)alelemalel als
etea

Tue, Oct 30, 5:56 PM

Oe A -TeR mu el com TRU lam elie

ran le) i Mm alte) 84=) galele)seabolem s'/ al-) wom tals
7-1 ee | [on ag

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NCW IMmessayge Valicel

To: Lori Deveny

| said tomorrow afternoon.

Oe) SMIRK) ecm el marci)

Perfect.

Wed, Oct 31, 2:48 PM

There is a check for you on my
office door.

Wed, Oct 31, 9:05 PM

Maimereaillacemceme(-1m i Mile mullite!

ielunlelece) wm irlelealiale|

Thu, Nov 1, 12:37 PM

Tom are) Mim dal Mi <-e-lele)tal-l metal let a
‘aT =i-te Mi col oy-\ VM lal (-e-1-) 0) sara si-ler- etm
relTe faim i'/-1a) ma dat:) OMA elem -T-](e BYele|

NTol el (om enlel Mm (:t-) cc) eel-\YM-) acc] walele) p
var} auicl-mele)iale Mela meiel Me ice)!/- mice)
Ze) a dt-lalem-tcs-i0lealinre Minh mill meipl-te1 4

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NCW IMcssaye Vadliccl

To: Lori Deveny

Mon, Nov 12, 10:18 AM

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allt AAAA AA A AY

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bo} ColeMe)i(elalelalate mail)

YJ a [ole tah

RAR RADDA AS

TAR ae ay

New iImcessayge VLalicel

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To: Lori Deveny

bo} Col ole lslelaiale mun (-
potas} eMlelalelgiile mail)
=) ce) om lela lalaiale Maal)
ico} ome lplelmielemagl=
ote) ole lpleleialeman=
S} co) oN fe lavelaiale Manl=
bo} co) eM le lalelaiale marl

oho) oN Te lalelelalemanl=

3 ce} ole tale elale mail

ice) ome lalelgiale marl

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NCW IMmcessayge Vdlicel

To: Lori Deveny

Tue, Nov 13, 5:02 AM

| have been out and unavailable due
to a sudden death in my family. |
will know more once | get through
my mail, emails and calls. That may
take a day or so. | will let you know
as soon as! am able. I'm sorry |
worries you!

Worried

Tue, Nov 13, 8:48 AM

Mh at- ilo) Mal-t- lee Mace) time)! mi y-lme la)
roles MCE) Om Mac-\ mele) Mail Mawel lglere) iia!
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date] @-| ple) del =) el-t-leup mh ag-1-M(el- lake
@velaalanltiaiver-14(e)aMal-lomel-\-10m Clee) e) (=)

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for-[Ufoi-1eM- Melts lois me) mit) el-1¢

Wi alat-ret-t-3-t-] aYae-) Ces ar bh
'r-Tale-ieM tome leleleMotelnr lea lial ior ties mm ce,
eine) eda mee) ae) oe

Tue, Nov 13, 2:30 PM

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